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FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 2O19MAY 17 ARTI: 13
OCALA DIVISION CLERK. USD
- US DISTRICT COURT
CHARLIE ALICE ELAINE PERRY, mooLe Cet OF FL

Plaintiff,
Vv.

CASE NO.: S: I3-cy D4.
ALLIED INTERNATIONAL CREDIT CORP., V-M! Oc. WYPAL

 

Defendant.
/
COMPLAINT.
1. Unwanted “Robocalls” are the #1 consumer complaint in America today.
2. The people complaining about harassing robocalls is increasing at an alarming rate.

In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal
Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was
4,501,967.!

3. Allied International Credit Corp. robocalled the Plaintiff 50 times.

4. Allied International Credit Corp. has a corporate policy to robocall people
thousands of times.

5. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force
the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’
137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

 

1 It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
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‘

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014), Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrocket.

6. Plaintiff, Charlie Alice Elaine Perry, alleges Defendant, Allied International Credit
Corp., robocalled her more than 50 times in stark violation of the Telephone Consumer Protection
Act, 47 U.S.C. § 227 et seg. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692
et. seq. (“FDCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seg.
(“FCCPA”), and Invasion of Privacy (“IOP”).

7. Robocalls are very inexpensive to make. As was noted in a Senate hearing on the
subject: “With such a cheap and scalable business model, bad actors can blast literally tens of
millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping
Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer
Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117
(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of
Consumer Protection, Federal Trade Commission).

8. The TCPA was enacted to prevent companies like Allied International Credit Corp.
from invading American citizens’ privacy and prevent illegal robocalls.

9. Congress enacted the TCPA to prevent real harm. Congress found that "automated
or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and
decided that "banning" such calls made without consent was "the only effective means of
protecting telephone consumers from this nuisance and privacy invasion.” Pub. L. No. 102-243,
§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).
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10. According to findings by the FCC—the agency Congress vested with authority to
issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that
wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.

JURISDICTION AND VENUE

11. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

12. Violations described in the Complaint occurred while Plaintiff was in Groveland,
Florida.

FACTUAL ALLEGATIONS

 

13. Plaintiff is a natural person and citizen of the State of Florida, residing in
Groveland, Florida.

14. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §
1692(a)(3).

15. Plaintiff is an “alleged debtor.”

16. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

17. Defendant is a corporation with its principal place of business in Phoenix, Arizona,
and conducts business in the State of Florida.

18. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).
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19. The debt that is the subject matter of this complaint is a “consumer debt” as defined
by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

20. Plaintiff was the regular user and carrier of the cellular telephone number at issue,
(407) 431-7374.

21. Plaintiff was the “called party” during each phone call subject to this lawsuit.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. | Defendant did not have the “express consent” of the Defendant to call her cell
phone.

24. “Express consent” is narrowly construed by the Courts.

25. It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

26. It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

27. Defendant was put on notice Plaintiff did not want the Defendant contacting her.

28. In or about February of 2017, Plaintiff started receiving calls from the Defendant
asking for “Chuckie Leon”. Plaintiff told Defendant this is not her legal name, not to call her again,
and to put her number on the Do Not Call List.

29. Defendant was told repeatedly that Plaintiffs legal name is not the name of the
person the Defendant was attempting to contact.

30. Defendant did not have the express consent of the Plaintiff to call her on the account

they called her on.
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31.

Plaintiff expressly revoked any express consent Defendant may have mistakenly

believed it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone

number by the use of an ATDS or a pre-recorded or artificial voice.

32.

Defendant attempted to collect a debt from a person they believe to be the Plaintiff

by this campaign of telephone calls.

33. Defendant made at least one call to (407) 431-7374.

34. | Defendant made at least one call to (407) 431-7374 using an ATDS.

35. Defendant made at least ten (10) calls to (407) 431-7374.

36. Defendant made at least ten (10) calls to (407) 431-7374 using an ATDS.

37. Defendant made at least twenty-five (25) calls to (407) 431-7374.

38. Defendant made at least twenty-five (25) calls to (407) 431-7374 using an ATDS.

39. Defendant made at least fifty (50) calls to (407) 431-7374.

40. Defendant made at least fifty (50) calls to (407) 431-7374 using an ATDS.

41. Each call the Defendant made to (407) 431-7374 in the last four years was made
using an ATDS.

42. _ Each call the Defendant made to the Plaintiff's cell phone was done so without the

“express permission” of the Plaintiff.

43.

44.

Defendant has called other people’s cell phones without their express consent.

Each call the Defendant made to the Plaintiff was made using an ATDS, which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).
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45. The calls at issue were placed by the Defendant using a “prerecorded voice,” as
specified by the TCPA, 47 U.S.C. § 227(b)(1){A).

46. Plaintiff repeatedly requested the Defendant to stop calling her cell phone,
however, the Defendant continued to make calls.

47. Defendant has admitted to calling cell phones using an ATDS after that person
asked for the calls to stop.

48. Plaintiff's conversations with the Defendant putting them on notice that she did not
want more phone calls were ignored.

49. Defendant has recorded at least one conversation with the Plaintiff.

50. Defendant has recorded numerous conversations with the Plaintiff.

51. Defendant has made approximately fifty (50) calls to Plaintiff's aforementioned
cellular telephone number since in or about February of 2017 which will be established exactly
once Defendant turns over their dialer records.

52. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abusive robocalls.

53. Defendant has been sued in federal court where the allegations include: calling an
individual using an ATDS after the individual asked for the calls to stop.

54. By effectuating these unlawful phone calls, Defendants have caused Plaintiff the
very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

55.  Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff's rights and interests in her cellular telephone and cellular telephone line, by
intruding upon Plaintiff's seclusion.

56.  Defendant’s phone calls harmed Plaintiff by wasting her time.

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57. Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA
of 1991, 23 FCC Red 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

58.  Defendant’s corporate policy and procedures are structured as to continue to call
individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may
have mistakenly believed it had.

59.  Defendant’s corporate policy and procedures provided no means for the Plaintiff to
have her aforementioned cellular number removed from the call list.

60. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintiff for its financial benefit.

61. In the last 3 years, the Defendant has had 70 complaints reported to the Better
Business Bureau (BBB), of which 65 of those complaints are classified as being related to
“Billing/Collection Issues.” (According to bbb.org. in April, 2018).

62. Plaintiff expressly revoked any consent Defendant may have mistakenly
believed it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone by
the use of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement
of the calls. Making money while breaking the law is considered an incentive to continue violating
the TCPA and other state and federal statutes.

63. Defendant never had the Plaintiffs expressed consent for placement of telephone
calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

voice.
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64. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(A).

65. Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

66. Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

COUNT I
(Violation of the TCPA)

67. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

68. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-
recorded voice.

69. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintiffs cellular telephone after Plaintiff revoked her
consent to be called by them using an ATDS or pre-recorded voice.

70. Defendant, Allied International Credit Corp., repeatedly placed non-emergency
telephone calls to the wireless telephone number of Plaintiff using an automatic telephone dialing
system or prerecorded or artificial voice without Plaintiff's prior express consent in violation of
federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

71.  Asaresult of Defendant’s illegal conduct, Plaintiff suffered actual damages and,
under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such
violation of the TCPA.

72. Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

Allied International Credit Corp., from violating the TCPA in the future.
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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any
other such relief the court may deem just and proper.

COUNT II
(Violation of the FDCPA)

73. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

74.  Atall times relevant to this action, Defendant is subject to and must abide by 15
U.S.C. § 1692 et seq.

75. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by
willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.

76. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)
by causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

77. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by
using unfair and unconscionable means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.

COUNT It
(Violation of the FCCPA)

78. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).
79.  Atall times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

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80. | Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected
to harass the debtor or her family.

81. | Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her
family.

82. Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
when Defendant knows that the debt is not legitimate or assert the existence of some legal right
when Defendant knows that right does not exist.

83.  Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

COUNT IV
(Invasion of Privacy — Intrusion Upon Seclusion)

84. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

85. Defendant through its collection conduct, has repeatedly and intentionally invaded
Plaintiff's privacy.

86. _ All of the calls made to Plaintiffs cell phone by Defendant and its agents using an
automatic telephone dialing system were made in violation of the TCPA, and were unreasonable

and highly offensive invasions of Plaintiff's right to privacy.

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87. Defendant’s persistent autodialed calls to her cellular phone eliminated Plaintiff's
right to be left alone.

88.  Defendant’s autodialed collection calls disrupted Plaintiffs privacy, disrupted
Plaintiff's sleep, disrupted Plaintiff during mealtimes, and continually frustrated and annoyed
Plaintiff.

89. These persistent autodialed collection calls eliminated the peace and solitude that
the Plaintiff would have otherwise had in Plaintiff's home and anywhere else Plaintiff went with
her cellular phone.

90. By calling her cellular phone, Plaintiff had no escape from these collection calls
either in her home or when she left the home.

91. _ By persistently autodialing Plaintiff’s cellular phone without prior express consent,
Defendant invaded Plaintiff's right to privacy, as legally protected by the TCPA, and caused
Plaintiff to suffer concrete and particularized harm.

92.  Defendant’s harassing collection conduct and tactic of repeatedly auto dialing
Plaintiff to her cellular telephone after requests to stop is highly offensive to a reasonable person.

93. Defendant intentionally intruded upon Plaintiff's solitude and seclusion.

94. Asaresult of Defendant’s action or inaction, Plaintiff has been damaged.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

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Respectfully submitted,

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